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                                    1672   EXHIBIT 9
                                               ,aw
                                           Attorneys at Law
 Ned Pillcrsdorf                                                              Janet Slumbo
 pillcrsnCO'gmail.com                                       /                 jslumbo@gmail.com
                                               /
 Zachan- Caldwell                             !                               John Rosenberg(Of Counsel)
 7achcaldw'c!l2@gmail.eom

 124 West Court Street                                                        Phone:(606)886-6090
 Preston.sburg, Kentucky 41653                                                1-acsimile:(606)886-6148
                                                    Website:
                                             www.pillersdorfIaw.com



                                             January 12,2024




 Kristeena Johnson
 Kristeena.jQhnsQn@dinsmore.conn

          RE; Baker, et al vs. Blackhawk, et al

 Dear Kristeena:

          We sent letters to Amy & Bruce Dryden, Dillo Neace, and Harold Ray White informing them of
 their depositions scheduled on January 16, 2024. We have followed up with calling those clients.

         Bruce Dryden informed my staff that his wife, Amy, is hospitalized as of the above date, and
 they are waiting to see if she has to have surgery. Mr. Dryden assured us he would let us know as
 soon as possible. However, given the late date, we wanted to let you know in case you wanted to go
 ahead and reschedule their depositions. Otherwise, we will call Mr. Dryden again on Monday,
 January 15, 2024.

         We could not reach Harold Ray White via telephone, but we did send a letter to him. We were
 able to reach Dillo Neace's daughter. She assured us she would remind him of the deposition, and
 he would let us know if he could not be there.

          If you need anything further, do not hesitate to contact me.

                                                   Sincerely,

                                                   Ji/xd                   uJ-

                                                   Ned Pillcrsdorf

 NP/dsw
